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 8
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10   Khrapunov a/k/a Elvira Kudryashova;
11
     Dmitry Kudryashov; RPM USA, LLC;
     RPM-Maro LLC; Maro Design LLC; Haute
12   Hue LLC; 628 Holdings LLC; Candian
     International Ltd.; Elvira Kudryashova as
13   Trustee of The Kasan Family Trust; Dmitry
     Kudryashov as Trustee of The Kasan Family
14   Trust, Crownway Ltd., Vilder Company
15   S.A., and World Health Networks, Inc.

16                           UNITED STATES DISTRICT COURT
17
                           CENTRAL DISTRICT OF CALIFORNIA
18

19                                         Case No. 14-cv-03650-FMO (CW)
     CITY OF ALMATY,
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                                           Consolidated with case no. 15-cv-02628-FMO
                         Plaintiff,        (CW)
21
                  v.
22
                                           NOTICE OF JOINDER AND JOINDER OF
     VIKTOR KHRAPUNOV, et al.,             DEFENDANTS CROWNWAY LTD.,
23                                         VILDER COMPANY S.A., AND WORLD
                         Defendants.
24                                         HEALTH NETWORKS, INC. IN
                                           DEFENDANTS’ MOTION TO DISMISS
25                                         CONSOLIDATED AMENDED
26                                         COMPLAINT (DKT. 164)

27

28
                                                       JOINDER IN MOTION TO DISMISS
                                                  CONSOLIDATED AMENDED COMPLAINT
                                                          Case No.: 14-cv-03650-FMO (CW)
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 1        TO THIS HONORABLE COURT, TO EACH PARTY TO THIS ACTION,
 2 AND TO THE COUNSEL OF RECORD FOR EACH PARTY:

 3

 4        PLEASE TAKE NOTICE that Defendants Crownway Ltd., Vilder Company
 5 S.A., and World Health Networks, Inc. hereby join Defendants Madina Ablyazova,

 6 Iliyas Khrapunov, Leila Khrapunov, Viktor Khrapunov, Elvira Khrapunov a/k/a Elvira

 7 Kudryashova; Dmitry Kudryashov; RPM USA, LLC; RPM-Maro LLC; Maro Design

 8 LLC; Haute Hue LLC; 628 Holdings LLC; Candian International Ltd.; Elvira

 9 Kudryashova as Trustee of The Kasan Family Trust; and Dmitry Kudryashov as

10 Trustee of The Kasan Family Trust in their Motion to Dismiss Consolidated Amended

11 Complaint (Dkt. 164), filed on October 25, 2017.

12

13   Dated: November 20, 2017                 BOERSCH SHAPIRO LLP
14
                                              _/s/Martha Boersch_________
15                                            Martha Boersch
                                              Attorneys for Defendants
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                                         1          JOINDER IN MOTION TO DISMISS
                                               CONSOLIDATED AMENDED COMPLAINT
                                                       Case No.: 14-cv-03650-FMO (CW)
